                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )           1:07-cr-84-CLC-20
                                                )
JAMES MCDANIEL                                  )

                              MEMORANDUM AND ORDER

       JAMES MCDANIEL (“Defendant”) appeared for a hearing on December 28, 2015, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a
Warrant or Summons for an Offender Under Supervision (“Petition”).

       Defendant was placed under oath and informed of his constitutional rights. It was
determined that Defendant wished to be represented by an attorney and he qualified for
appointed counsel. Federal Defender Services of Eastern Tennessee was appointed to represent
Defendant. It was also determined that Defendant had been provided with and reviewed with
counsel a copy of the Petition.

       The Government moved that Defendant be detained without bail pending his revocation
hearing before U.S. District Judge Curtis L. Collier. Defendant waived his right to a preliminary
hearing and a detention hearing.

        Based upon the Petition and waiver of preliminary hearing, the Court finds there is
probable cause to believe Defendant has committed violations of his condition of supervised
release as alleged in the Petition.

       Accordingly, it is ORDERED that:

       (1) Defendant shall appear for a revocation hearing before U.S. District Judge Collier.

       (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Collier is GRANTED.

       (2) The U.S. Marshal shall transport Defendant to a revocation hearing set before
       District Judge Collier at 2:00 p.m. on Wednesday, January 27, 2016.

       SO ORDERED.

       ENTER.
                                            s/fâátÇ ^A _xx
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE



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